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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            4:04CR3128-2
                                             )
              Plaintiff,                     )
                                             )            MEMORANDUM
vs.                                          )            AND ORDER
                                             )
MARK R. SCHNEIDER,                           )
                                             )
              Defendant.                     )

       After consideration of the appeal and request for stay,

       IT IS ORDERED that:

       (1)    Magistrate Judge Piester’s order releasing the defendant is herewith stayed and
the appeal will be considered at sentencing.

        (2)    The appeal (filing 102, part 1) is held in abeyance and the request for stay
(filing 102, part 2) is granted.

       March 23, 2006.                            BY THE COURT:

                                                  s/ Richard G. Kopf
                                                  United States District Judge
